Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF ALABAMA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     David
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Garcia
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years David P. Garcia
                                   David Pedro Garcia
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-8121
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101
                    Case 19-80539               Doc  1 Filed 04/04/19 Entered 04/04/19 15:51:18
                                                Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                    Desc Main         page 1
                                                             Document              Page 1 of 64
Debtor 1   David Garcia                                                                              Case number (if known)




                                 About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and     I have not used any business name or EINs.
     Employer Identification
     Numbers (EIN) you have DBA NHPA DEVELOPMENT, LLC (JUNE
     used in the last 8 years 2018 - PRESENT)
                                 DBA CAMBRIDGE HOUSING PARTNERS,
                                 LLC. (APRIL/MAY 2013 - PRESENT)
                                 DBA NATIONAL HOUSING PRESERVATION
                                 ADVISORS, LLC. (JULY 2017 - PRESENT)
                                                                                                 I have not used any business name or EINs.
                                 DBA AFFORDABLE HOUSING/ REAL
                                 ESTATE DEVELOPMENT
     Include trade names and     Business name(s)                                             Business name(s)
     doing business as names

                                 EINs                                                         EINs




5.   Where you live                                                                           If Debtor 2 lives at a different address:

                                 743 Oakdale Drive
                                 Auburn, AL 36830
                                 Number, Street, City, State & ZIP Code                       Number, Street, City, State & ZIP Code

                                 Lee
                                 County                                                       County

                                 If your mailing address is different from the one            If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any    in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                      mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code             Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                   Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any              have lived in this district longer than in any other
                                        other district.                                               district.

                                        I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




Official Form 101
                    Case 19-80539           Doc  1 Filed 04/04/19 Entered 04/04/19 15:51:18
                                            Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                              Desc Main                page 2
                                                         Document              Page 2 of 64
Debtor 1    David Garcia                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101
                    Case 19-80539            Doc  1 Filed 04/04/19 Entered 04/04/19 15:51:18
                                             Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                   Desc Main              page 3
                                                          Document              Page 3 of 64
Debtor 1    David Garcia                                                                                   Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101
                    Case 19-80539            Doc  1 Filed 04/04/19 Entered 04/04/19 15:51:18
                                             Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                    Desc Main          page 4
                                                          Document              Page 4 of 64
Debtor 1    David Garcia                                                                               Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101
                    Case 19-80539              Doc  1 Filed 04/04/19 Entered 04/04/19 15:51:18
                                               Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                Desc Main                page 5
                                                            Document              Page 5 of 64
Debtor 1    David Garcia                                                                                  Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ David Garcia
                                 David Garcia                                                      Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     April 4, 2019                                     Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101
                    Case 19-80539           Doc  1 Filed 04/04/19 Entered 04/04/19 15:51:18
                                            Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                     Desc Main              page 6
                                                         Document              Page 6 of 64
Debtor 1   David Garcia                                                                                   Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ MARY CONNER POOL                                               Date         April 4, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                MARY CONNER POOL
                                Printed name

                                Bond, Botes, Shinn & Donaldson, P.C.
                                Firm name

                                P.O. Box 4479
                                Montgomery, AL 36103
                                Number, Street, City, State & ZIP Code

                                                                                                                   gdonaldson@bondnbotes.com;
                                Contact phone     334-264-3363                               Email address         mpool@bondnbotes.com
                                ASB-6271-M64P AL
                                Bar number & State




Official Form 101
                    Case 19-80539              Doc  1 Filed 04/04/19 Entered 04/04/19 15:51:18
                                               Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                   Desc Main             page 7
                                                            Document              Page 7 of 64
 Fill in this information to identify your case:

 Debtor 1                   David Garcia
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF ALABAMA

 Case number
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $            437,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $             11,020.69

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $            448,020.69

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $            630,973.73

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $            572,996.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $            265,625.18


                                                                                                                                     Your total liabilities $              1,469,594.91


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $                     0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $             10,491.29

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy

                       Case 19-80539                  Doc 1            Filed 04/04/19 Entered 04/04/19 15:51:18                                                  Desc Main
                                                                         Document     Page 8 of 64
 Debtor 1      David Garcia                                                               Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              8,510.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            564,486.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $             48,582.35

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            621,578.35




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                       Desc Main
                                                                   Document     Page 9 of 64
 Fill in this information to identify your case and this filing:

 Debtor 1                    David Garcia
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF ALABAMA

 Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        7844 LAKERIDGE DRIVE                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        MONTGOMERY                        AL        36117-0000                         Land                                       entire property?             portion you own?
        City                              State              ZIP Code                  Investment property                               $437,000.00                  $437,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        MONTGOMERY                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                (TO BE SURRENDERED)
                                                                                (RENTAL HOME)
                                                                                (DEED JOINT WITH EX-SPOUSE; DEBTOR AWARDED IN DIVORCE)
                                                                                (TAX ASSESSED VALUE LISTED=$498,800.00)
                                                                                11-14-17 APPRAISED VALUE LISTED


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $437,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy

                       Case 19-80539                     Doc 1              Filed 04/04/19 Entered 04/04/19 15:51:18                                        Desc Main
                                                                             Document     Page 10 of 64
 Debtor 1       David Garcia                                                                                        Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

      No
      Yes


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                   $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    HOUSEHOLD GOODS & FURNISHINGS                                                                                                $600.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV                                                                                                                           $100.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    ART                                                                                                                            $50.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    GOLF CLUBS                                                                                                                   $300.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
Official Form 106A/B                                                   Schedule A/B: Property                                                                        page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                       Desc Main
                                                                  Document     Page 11 of 64
 Debtor 1          David Garcia                                                                                               Case number (if known)

        Yes. Describe.....

                                            CLOTHING                                                                                                                    $250.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            WEDDING RING                                                                                                                $200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $1,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       CHECKING                                WELLS FARGO                                                             $89.86


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:




Official Form 106A/B                                                                       Schedule A/B: Property                                                           page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy

                   Case 19-80539                             Doc 1               Filed 04/04/19 Entered 04/04/19 15:51:18                              Desc Main
                                                                                  Document     Page 12 of 64
 Debtor 1         David Garcia                                                                             Case number (if known)


                                            NATIONAL HOUSING PRESERVATION
                                            ADVISORS, LLC
                                            30.6% OWNERSHIP
                                            CHECKING ACCOUNT - WELLS FARGO
                                            BALANCE ($217.50)
                                            EQUIPMENT: $1,500.00
                                            (ACCOUNTS PAYABLE: $100,000)
                                            (LOAN BALANCES $386,618)                                             30.6       %                         $0.00


                                            CAMBRIDGE HOUSING PARTNERS, LLC
                                            (ACCOUNTS RECEIVABLE $19,750 DUE IN
                                            APRIL 2019 - HE GETS 25% OF THIS WHENEVER
                                            IT IS PAID)                                                           51        %                   $4,937.50


                                            NHPA DEVELOPMENT, LLC
                                            (NO VALUE)                                                            60        %                         $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                         Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                       Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


                                     INDEPENDANT 529 PLAN - OLDEST DAUGHTER IS BENEFICIARY
                                     (NOT SURE IF HE OWNS OR IF EX-WIFE OWNS POLICY BUT FOR BENEFIT
                                     OF OLDEST DAUGHTER SO LIKELY NOT AN ASSET OF ESTATE - LISTED
                                     OUT OF ABUNDANCE OF CAUTION)                                                                               $1,000.00


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...


Official Form 106A/B                                                 Schedule A/B: Property                                                           page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy

                  Case 19-80539                    Doc 1         Filed 04/04/19 Entered 04/04/19 15:51:18                           Desc Main
                                                                  Document     Page 13 of 64
 Debtor 1       David Garcia                                                                           Case number (if known)

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                              BROKER LICENSE IN COLORADO
                                              (NO VALUE)                                                                                                $0.00


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      JUDGMENT AGAINST TIMOTHY & MARIA ROBINSON
                                                      ($993.33 PLUS COURT COSTS (OWE ATTORNEY 1/3 OF
                                                      RECOVERY)                                                                                     $993.33


                                                      FEBRUARY 2019 MONTHLY RENT PAYMENT FROM
                                                      RENTERS
                                                      (LIKELY UNCOLLECTIBLE)                                                                      $2,500.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

                                         PRUDENTIAL - TERM LIFE ONLY
                                         (NO CASH VALUE)                                      8 BENEFICIARIES                                           $0.00


                                         NORTHWESTERN MUTUAL - TERM
                                         LIFE ON EX-WIFE
                                         (NO CASH VALUE)                                      SELF                                                      $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..




Official Form 106A/B                                                 Schedule A/B: Property                                                             page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                       Desc Main
                                                                  Document     Page 14 of 64
 Debtor 1         David Garcia                                                                                                          Case number (if known)

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................             $9,520.69


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $437,000.00
 56. Part 2: Total vehicles, line 5                                                                                 $0.00
 57. Part 3: Total personal and household items, line 15                                                        $1,500.00
 58. Part 4: Total financial assets, line 36                                                                    $9,520.69
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $11,020.69              Copy personal property total           $11,020.69

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $448,020.69




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy

                   Case 19-80539                         Doc 1            Filed 04/04/19 Entered 04/04/19 15:51:18                                               Desc Main
                                                                           Document     Page 15 of 64
 Fill in this information to identify your case:

 Debtor 1                  David Garcia
                           First Name                       Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF ALABAMA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      HOUSEHOLD GOODS &                                                   $600.00                                  $600.00     Ala. Code §§ 6-10-6, 6-10-12
      FURNISHINGS
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      TV                                                                  $100.00                                  $100.00     Ala. Code §§ 6-10-6, 6-10-12
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      ART                                                                  $50.00                                   $50.00     Ala. Code §§ 6-10-6, 6-10-12
      Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      GOLF CLUBS                                                          $300.00                                  $300.00     Ala. Code §§ 6-10-6, 6-10-12
      Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      CLOTHING                                                            $250.00                                  $250.00     Ala. Code §§ 6-10-6, 6-10-126
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy

                       Case 19-80539              Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                             Desc Main
                                                                  Document     Page 16 of 64
 Debtor 1    David Garcia                                                                                Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     WEDDING RING                                                        $200.00                                   $200.00        Ala. Code §§ 6-10-6, 6-10-12
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CHECKING: WELLS FARGO                                                $89.86                                    $89.86        Ala. Code §§ 6-10-6, 6-10-12
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CAMBRIDGE HOUSING PARTNERS,                                      $4,937.50                                  $4,937.50        Ala. Code §§ 6-10-6, 6-10-12
     LLC
     (ACCOUNTS RECEIVABLE $19,750                                                          100% of fair market value, up to
     DUE IN APRIL 2019 - HE GETS 25%                                                       any applicable statutory limit
     OF THIS WHENEVER IT IS PAID)
     51 % ownership
     Line from Schedule A/B: 19.2

     INDEPENDANT 529 PLAN - OLDEST                                    $1,000.00                                  $1,000.00        Ala. Code §19-3B-508
     DAUGHTER IS BENEFICIARY
     (NOT SURE IF HE OWNS OR IF                                                            100% of fair market value, up to
     EX-WIFE OWNS POLICY BUT FOR                                                           any applicable statutory limit
     BENEFIT OF OLDEST DAUGHTER
     SO LIKELY NOT AN ASSET OF
     ESTATE - LISTED OUT OF
     ABUNDANCE OF CAUTION)
     Line from Schedule A/B: 24.1

     JUDGMENT AGAINST TIMOTHY &                                          $993.33                                   $993.33        Ala. Code §§ 6-10-6, 6-10-12
     MARIA ROBINSON ($993.33 PLUS
     COURT COSTS (OWE ATTORNEY 1/3                                                         100% of fair market value, up to
     OF RECOVERY)                                                                          any applicable statutory limit
     Line from Schedule A/B: 30.1

     FEBRUARY 2019 MONTHLY RENT                                       $2,500.00                                    $479.31        Ala. Code §§ 6-10-6, 6-10-12
     PAYMENT FROM RENTERS
     (LIKELY UNCOLLECTIBLE)                                                                100% of fair market value, up to
     Line from Schedule A/B: 30.2                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                Desc Main
                                                                  Document     Page 17 of 64
 Fill in this information to identify your case:

 Debtor 1                   David Garcia
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF ALABAMA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         BANK OF AMERICA
 2.1                                                                                                            $14,721.00              $437,000.00           $14,721.00
         HOME LOANS                               Describe the property that secures the claim:
         Creditor's Name                          7844 LAKERIDGE DRIVE
                                                  MONTGOMERY, AL 36117
                                                  MONTGOMERY County
                                                  (RENTAL HOME)
                                                  (DEED JOINT WITH EX-SPOUSE;
                                                  DEBTOR AWARDED IN DIVORCE)
                                                  (TAX ASSESSED VALUE LISTED)
                                                  (100% BUSINESS)
                                                  As of the date you file, the claim is: Check all that
         16001 N. DALLAS PKWY                     apply.
         ADDISON, TX 75001                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   2ND MORTGAGE
       community debt

 Date debt was incurred          11-01-05                  Last 4 digits of account number        XXXX




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy

                       Case 19-80539              Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                     Desc Main
                                                                  Document     Page 18 of 64
 Debtor 1 David Garcia                                                                                        Case number (if known)
               First Name                  Middle Name                      Last Name


         EQUITY FUNDING
 2.2                                                                                                                $118,213.53              $0.00    $118,213.53
         VENTURES (EFV) LLC                         Describe the property that secures the claim:
         Creditor's Name                            NATIONAL HOUSING
                                                    PRESERVATION ADVISORS, LLC
                                                    OWNERSHIP
                                                    (100% BUSINESS)
         13815 SE MAY VALLEY                        As of the date you file, the claim is: Check all that
         ROAD                                       apply.
         RENTON, WA 98059                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         INTERNAL REVENUE
 2.3                                                                                                                 $55,472.16        $437,000.00     $55,472.16
         SERVICE                                    Describe the property that secures the claim:
         Creditor's Name                            7844 LAKERIDGE DRIVE
                                                    MONTGOMERY, AL 36117
                                                    MONTGOMERY County
                                                    (TO BE SURRENDERED)
                                                    (RENTAL HOME)
                                                    (DEED JOINT WITH EX-SPOUSE;
                                                    DEBTOR AWARDED IN DIVORCE)
                                                    (TAX ASSESSED VALUE
                                                    LISTED=$498,800.00)
                                                    11-14-17 APPRAISED VALUE
         P.O. BOX 7346                              LISTED
                                                    As of the date you file, the claim is: Check all that
         PHILADELPHIA, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

                  Case 19-80539                    Doc 1            Filed 04/04/19 Entered 04/04/19 15:51:18                               Desc Main
                                                                     Document     Page 19 of 64
 Debtor 1 David Garcia                                                                                        Case number (if known)
               First Name                  Middle Name                      Last Name


 2.4     MR. COOPER                                 Describe the property that secures the claim:                   $442,567.04                $437,000.00            $5,567.04
         Creditor's Name                            7844 LAKERIDGE DRIVE
                                                    MONTGOMERY, AL 36117
                                                    MONTGOMERY County
                                                    (RENTAL HOME)
                                                    (DEED JOINT WITH EX-SPOUSE;
                                                    DEBTOR AWARDED IN DIVORCE)
                                                    (TAX ASSESSED VALUE LISTED)
         8950 CYPRESS WATERS                        (100% BUSINESS)
                                                    As of the date you file, the claim is: Check all that
         BLVD                                       apply.
         DALLAS, TX 75019                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   1ST MORTGAGE
       community debt

 Date debt was incurred          11-01-05                    Last 4 digits of account number         XXXX


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $630,973.73
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $630,973.73

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          CAPITAL MANAGEMENT SERVICES, LP
          698 1/2 SOUTH OGDEN STREET                                                                  Last 4 digits of account number
          BUFFALO, NY 14206-2317

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          JEFF BROWN LAW, LLC
          4313 E. LINKS PARKWAY                                                                       Last 4 digits of account number
          LITTLETON, CO 80122

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          U.S. ATTORNEY
          MIDDLE DISTRICT OF AL                                                                       Last 4 digits of account number
          P.O. BOX 197
          MONTGOMERY, AL 36101-0197

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          U.S. ATTORNEY GENERAL
          U.S. DEPARTMENT OF JUSTICE                                                                  Last 4 digits of account number
          950 PENNSYLVANIA AVE, NW
          WASHINGTON, DC 20530-0001




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy

                  Case 19-80539                    Doc 1            Filed 04/04/19 Entered 04/04/19 15:51:18                                         Desc Main
                                                                     Document     Page 20 of 64
 Fill in this information to identify your case:

 Debtor 1                     David Garcia
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                MIDDLE DISTRICT OF ALABAMA

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
                                                                                                                            $498,431.0
 2.1          INTERNAL REVENUE SERVICE                               Last 4 digits of account number                                 0       $498,431.00                    $0.00
              Priority Creditor's Name
              P.O. BOX 7346                                          When was the debt incurred?
              PHILADELPHIA, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        2017 BACK TAXES
                                                                                         (100% BUSINESS)




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              35183                                           Best Case Bankruptcy

                       Case 19-80539              Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                        Desc Main
                                                                  Document     Page 21 of 64
 Debtor 1 David Garcia                                                                                     Case number (if known)

 2.2      MICHELLE GARCIA                                            Last 4 digits of account number                         $6,000.00   $6,000.00              $0.00
          Priority Creditor's Name
          788 S. WILLIAMS STREET                                     When was the debt incurred?
          DENVER, CO 80209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           BACK ALIMONY

 2.3      MICHELLE GARCIA                                            Last 4 digits of account number                         $2,000.00   $2,000.00              $0.00
          Priority Creditor's Name
          788 S. WILLIAMS STREET                                     When was the debt incurred?
          DENVER, CO 80209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           BACK CHILD SUPPORT

 2.4      MICHELLE GARCIA                                            Last 4 digits of account number                           $510.00    $510.00               $0.00
          Priority Creditor's Name
          788 S. WILLIAMS STREET                                     When was the debt incurred?
          DENVER, CO 80209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           MEDICAL




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                Desc Main
                                                                  Document     Page 22 of 64
 Debtor 1 David Garcia                                                                                     Case number (if known)

 2.5        STATE OF COLORADO                                        Last 4 digits of account number                        $59,036.00             $59,036.00                    $0.00
            Priority Creditor's Name
            1375 SHERMAN STREET                                      When was the debt incurred?
            DENVER, CO 80203
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          2017 BACK TAXES
                                                                                         (100% BUSINESS)

 2.6        STATE OF COLORADO                                        Last 4 digits of account number                         $7,019.00              $7,019.00                    $0.00
            Priority Creditor's Name
            1375 SHERMAN STREET                                      When was the debt incurred?
            DENVER, CO 80203
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          2016 BACK TAXES
                                                                                         (100% BUSINESS)

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 3 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy

                  Case 19-80539                   Doc 1           Filed 04/04/19 Entered 04/04/19 15:51:18                                           Desc Main
                                                                   Document     Page 23 of 64
 Debtor 1 David Garcia                                                                                   Case number (if known)

 4.1      AES/ FED LOAN SERVICING                                    Last 4 digits of account number       XXXX                                           $48,582.35
          Nonpriority Creditor's Name
          P.O. BOX 69184                                             When was the debt incurred?           11-30-04
          HARRISBURG, PA 17106-9184
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.2      ALM PROPERTIES LLC                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8116 OLD FEDERAL ROAD                                      When was the debt incurred?
          MONTGOMERY, AL 36117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY


 4.3      AMERICAN EXPRESS                                           Last 4 digits of account number       XXXX                                           $42,107.23
          Nonpriority Creditor's Name
          ATTN: LAUREEN SEEGER                                       When was the debt incurred?           4-9-01
          200 VESEY STREET
          NEW YORK, NY 10285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                       Desc Main
                                                                  Document     Page 24 of 64
 Debtor 1 David Garcia                                                                                   Case number (if known)

 4.4      AMERICAN EXPRESS                                           Last 4 digits of account number       XXXX                                           $15,863.71
          Nonpriority Creditor's Name
          ATTN: LAUREEN SEEGER                                       When was the debt incurred?           10-18-01
          200 VESEY STREET
          NEW YORK, NY 10285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD


 4.5      AMERICAN EXPRESS                                           Last 4 digits of account number       XXXX                                             $1,817.61
          Nonpriority Creditor's Name
          ATTN: LAUREEN SEEGER                                       When was the debt incurred?           7-12-17
          200 VESEY STREET
          NEW YORK, NY 10285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD


 4.6      CAPITAL ONE BANK (USA), N.A.                               Last 4 digits of account number       XXXX                                           $59,266.78
          Nonpriority Creditor's Name
          ATTN: COREY LEE, VP CUSTOMER                               When was the debt incurred?           5-28-15
          MANAGEMENT
          1680 CAPITAL ONE DRIVE
          MCLEAN, VA 22102-3491
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                       Desc Main
                                                                  Document     Page 25 of 64
 Debtor 1 David Garcia                                                                                   Case number (if known)

 4.7      CHAMBLESS MATH & CARR                                      Last 4 digits of account number                                                          $352.33
          Nonpriority Creditor's Name
          P.O. BOX 230759                                            When was the debt incurred?
          MONTGOMERY, AL 36123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   OLD SERVICE


 4.8      CHASE BANK USA N.A.                                        Last 4 digits of account number       XXXX                                           $30,686.12
          Nonpriority Creditor's Name
          PO BOX 6184                                                When was the debt incurred?           8-25-14
          WESTERVILLE, OH 43086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD


 4.9      CREDIT ONE BANK                                            Last 4 digits of account number       XXXX                                               $619.67
          Nonpriority Creditor's Name
          ROBERT DEJONG, CEO                                         When was the debt incurred?           3-2-18
          6801 S. CIMARRON RD
          LAS VEGAS, NV 89113-2273
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                       Desc Main
                                                                  Document     Page 26 of 64
 Debtor 1 David Garcia                                                                                   Case number (if known)

 4.1      GRALAND COUNTRY DAY
 0        SCHOOL/SMART TUITION                                       Last 4 digits of account number       5047                                           $46,880.00
          Nonpriority Creditor's Name
          55 CLEARMONT STREET                                        When was the debt incurred?
          DENVER, CO 80220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SCHOOL TUITION DEFICIENCY


 4.1
 1        MILESTONE                                                  Last 4 digits of account number       XXXX                                               $469.34
          Nonpriority Creditor's Name
          BANKCARD SERVICES                                          When was the debt incurred?           3-02-18
          P.O. BOX 4477
          BEAVERTON, OR 97076-4477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD


 4.1
 2        NASH DERMATOLOGY, LLC                                      Last 4 digits of account number       5448                                                 $99.50
          Nonpriority Creditor's Name
          1935 E. GLENN AVENUE, STE 101                              When was the debt incurred?
          AUBURN, AL 36830-6480
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                       Desc Main
                                                                  Document     Page 27 of 64
 Debtor 1 David Garcia                                                                                   Case number (if known)

 4.1
 3        TERMINIX                                                   Last 4 digits of account number       8752                                               $392.00
          Nonpriority Creditor's Name
          PO BOX 742592                                              When was the debt incurred?
          CINCINNATI, OH 45274
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   OLD SERVICE


 4.1
 4        THE BURNHAM LAW FIRM, P.C.                                 Last 4 digits of account number                                                      $16,038.51
          Nonpriority Creditor's Name
          2760 29TH STREET, STE 1E                                   When was the debt incurred?
          BOULDER, CO 80301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   LEGAL FEES


 4.1
 5        TRUGREEN                                                   Last 4 digits of account number       0818                                               $468.90
          Nonpriority Creditor's Name
          801 OLIVER COURT                                           When was the debt incurred?
          MONTGOMERY, AL 36117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   OLD SERVICE




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                       Desc Main
                                                                  Document     Page 28 of 64
 Debtor 1 David Garcia                                                                                   Case number (if known)

 4.1       WYNLAKES RESIDENCIAL
 6         HOMEOWNERS ASSOC.                                         Last 4 digits of account number       1931                                                     $1,981.13
           Nonpriority Creditor's Name
           C/O ARGO HUGHES, LLC                                      When was the debt incurred?
           6706 TAYLOR CIRCLE
           Montgomery, AL 36117
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   HOA DUES

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AMERICAN RECOVERY SVCS                                        Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 1025                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 THOUSAND OAKS, CA 91358
                                                               Last 4 digits of account number                  8272

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AMERICAN RECOVERY SVCS                                        Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 1025                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 THOUSAND OAKS, CA 91358
                                                               Last 4 digits of account number                  2006

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AMERICAN RECOVERY SVCS                                        Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 1025                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 THOUSAND OAKS, CA 91358
                                                               Last 4 digits of account number                  1003

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CAPITAL ONE                                                   Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 60599                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 CITY OF INDUSTRY, CA 91716-0599
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CHASE BANK                                                    Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 C/O JAMES DIMON- CEO                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 270 PARK AVE
 NEW YORK, NY 10017
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CREDIT ONE BANK                                               Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 60500                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 CITY OF INDUSTRY, CA 91716-0500
                                                               Last 4 digits of account number                  4911

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DAVID SARAFI                                                  Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 501 S. CHERRY ST #100                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 DENVER, CO 80246

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 9 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                         Desc Main
                                                                  Document     Page 29 of 64
 Debtor 1 David Garcia                                                                                   Case number (if known)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DAVID SARAFI                                                  Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 501 S. CHERRY ST #100                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 DENVER, CO 80246
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LVNV FUNDING LLC                                              Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 C/O HALSTED FINANCIAL                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 SERVICES, LLC
 P.O. BOX 828
 SKOKIE, IL 60076
                                                               Last 4 digits of account number                  0282

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MRS BPO, L.L.C.                                               Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1930 OLNEY AVENUE                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 CHERRY HILL, NJ 08003
                                                               Last 4 digits of account number                  6357

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PARNELL & PARNELL, P.A.                                       Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 2189                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 MONTGOMERY, AL 36102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PARNELL & PARNELL, P.A.                                       Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 2189                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 MONTGOMERY, AL 36102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PARNELL & PARNELL, P.A.                                       Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 2189                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 MONTGOMERY, AL 36102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SMART TUITION                                                 Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 11731                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 NEWARK, NJ 07101-4731
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TRANSWORLD COLLECTIONS                                        Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2235 MERCURY WAY #275                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Santa Rosa, CA 95407
                                                               Last 4 digits of account number                  1358

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 U.S. ATTORNEY                                                 Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 MIDDLE DISTRICT OF AL                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. BOX 197
 MONTGOMERY, AL 36101-0197
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 U.S. ATTORNEY GENERAL                                         Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 U.S. DEPARTMENT OF JUSTICE                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 950 PENNSYLVANIA AVE, NW
 WASHINGTON, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 WYNLAKES HOA                                                  Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7900 WYNLAKES BLVD                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 10 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                         Desc Main
                                                                  Document     Page 30 of 64
 Debtor 1 David Garcia                                                                                  Case number (if known)

 MONTGOMERY, AL 36117
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                 8,510.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $              564,486.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                    0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                    0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $              572,996.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                48,582.35
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $              217,042.83

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              265,625.18




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                Desc Main
                                                                  Document     Page 31 of 64
 Fill in this information to identify your case:

 Debtor 1                  David Garcia
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               MIDDLE DISTRICT OF ALABAMA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       ALM PROPERTIES LLC                                                         REJECT LEASE AGENT CONTRACT
               8116 OLD FEDERAL ROAD
               MONTGOMERY, AL 36117

     2.2       EQUITY FUNDING VENTURES (EFV) LLC                                          REJECT GUARANTY
               13815 SE MAY VALLEY ROAD
               RENTON, WA 98059

     2.3       GRALAND COUNTRY DAY SCHOOL                                                 REJECT SCHOOL CONTRACT
               55 CLEARMONT STREET
               DENVER, CO 80220




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

                       Case 19-80539               Doc 1           Filed 04/04/19 Entered 04/04/19 15:51:18                         Desc Main
                                                                    Document     Page 32 of 64
 Fill in this information to identify your case:

 Debtor 1                   David Garcia
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF ALABAMA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         MICHELLE GARCIA                                                                      Schedule D, line
                788 S. WILLIAMS STREET                                                               Schedule E/F, line 4.16
                DENVER, CO 80209
                                                                                                     Schedule G
                                                                                                   WYNLAKES RESIDENCIAL HOMEOWNERS
                                                                                                   ASSOC.




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy

                       Case 19-80539                 Doc 1           Filed 04/04/19 Entered 04/04/19 15:51:18              Desc Main
                                                                      Document     Page 33 of 64
Fill in this information to identify your case:

Debtor 1                      David Garcia

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF ALABAMA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            SELF-EMPLOYED
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        N/A




Official Form 106I                                                    Schedule I: Your Income                                                   page 1
                      Case 19-80539          Doc 1        Filed 04/04/19    Entered 04/04/19 15:51:18                         Desc Main
                                                           Document       Page 34 of 64
Debtor 1   David Garcia                                                                          Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                N/A
     5e.    Insurance                                                                     5e.        $              0.00     $                N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00     $                N/A
     5g.    Union dues                                                                    5g.        $              0.00     $                N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $                N/A
     8b. Interest and dividends                                                           8b.        $              0.00     $                N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $                N/A
     8d. Unemployment compensation                                                        8d.        $              0.00     $                N/A
     8e. Social Security                                                                  8e.        $              0.00     $                N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                  N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $                  N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $               N/A = $             0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $            0.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: DEBTOR IS ACTIVELY LOOKING FOR NEW EMPLOYMENT. DEBTOR IS CURRENTLY
                             SELF-EMPLOYED.
                             DEBTOR LIVES WITH GIRLFRIED BUT ALL MONEY IS KEPT SEPARATE AND ONLY INCOME
                             ABOVE IS WHAT DEBTOR HAS TO WORK WITH.
                             DEBTOR RECEIVED A ONE TIME CLOSING BONUS THIS YEAR OF $65,000 OF WHICH $64,000
                             WENT TO HIS EX-WIFE FOR DSO ARREARAGES.




Official Form 106I                                               Schedule I: Your Income                                                            page 2
              Case 19-80539             Doc 1        Filed 04/04/19    Entered 04/04/19 15:51:18                                 Desc Main
                                                      Document       Page 35 of 64
Fill in this information to identify your case:

Debtor 1                 David Garcia                                                                      Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF ALABAMA                                                 MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             750.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
              Case 19-80539                Doc 1         Filed 04/04/19 Entered 04/04/19 15:51:18                                     Desc Main
                                                          Document     Page 36 of 64
Debtor 1     David Garcia                                                                              Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                   0.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                  0.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                  0.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                  30.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 165.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  280.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   50.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: STUDENT LOAN                                                    17c. $                                                  206.29
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                              8,510.00
19.   Other payments you make to support others who do not live with you.                         $                                                 0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    SOBERLINK                                                           21. +$                                                300.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      10,491.29
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      10,491.29
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                   0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             10,491.29

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -10,491.29

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: EXPENSES ABOVE ARE THE ONLY EXPENSES THE DEBTOR PAYS INTO THE HOUSEHOLD
                          AND IS ONLY PAID WHENEVER THE DEBTOR RECEIVES INCOME.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
            Case 19-80539                  Doc 1         Filed 04/04/19 Entered 04/04/19 15:51:18                                      Desc Main
                                                          Document     Page 37 of 64
 Fill in this information to identify your case:

 Debtor 1                    David Garcia
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF ALABAMA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ David Garcia                                                          X
              David Garcia                                                              Signature of Debtor 2
              Signature of Debtor 1

              Date       April 4, 2019                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy




                       Case 19-80539              Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                         Desc Main
                                                                  Document     Page 38 of 64
 Fill in this information to identify your case:

 Debtor 1                  David Garcia
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF ALABAMA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there
        3131 E. ALAMEDA AVENUE #2101                            From-To:                        Same as Debtor 1                                    Same as Debtor 1
        DENVER, CO 80209                                        2013 - MARCH                                                                     From-To:
                                                                2017

        3333 E. BAYAUD AVENUE, #907                             From-To:                        Same as Debtor 1                                    Same as Debtor 1
        DENVER, CO 80209                                        APRIL 2017 -                                                                     From-To:
                                                                JANUARY 2018


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

                       Case 19-80539              Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                  Desc Main
                                                                  Document     Page 39 of 64
 Debtor 1      David Garcia                                                                                Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $65,000.00           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                      $103,425.00           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                   $1,381,552.00            Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

                  Case 19-80539                   Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                  Desc Main
                                                                  Document     Page 40 of 64
 Debtor 1      David Garcia                                                                                Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       DAVID CHENAULT                                           4/25/18                         $8,732.13                 $0.00     DEBTOR DISPUTES THAT
                                                                                                                                    THIS IS AN INSIDER
                                                                                                                                    PAYMENT BUT LISTING
                                                                                                                                    OUT OF ABUNDANCE OF
                                                                                                                                    CAUTION: THIS AMOUNT
                                                                                                                                    WAS PAID TO AN
                                                                                                                                    EMPLOYEE WHO WORKED
                                                                                                                                    ON A PROJECT FROM A
                                                                                                                                    PRIOR COMPANY. THIS IS
                                                                                                                                    AN EMPLOYEE PAYMENT.

       PEDRO & LINDA GARCIA                                     4/25/18                         $2,910.71                 $0.00     DEBTOR DISPUTES THAT
       6375 N. FELAND AVENUE                                                                                                        THIS IS AN INSIDER
       FRESNO, CA 93711                                                                                                             PAYMENT BUT IS LISTING
                                                                                                                                    OUT OF ABUNDANCE OF
                                                                                                                                    CAUTION: HIS PARENTS
                                                                                                                                    WERE INVESTORS IN A
                                                                                                                                    BUSINESS VENTURE AND
                                                                                                                                    HE PAID THEM THIS
                                                                                                                                    AMOUNT FROM THE FINAL
                                                                                                                                    INSTALLMENT OF A
                                                                                                                                    DEVELOPER FEE HE
                                                                                                                                    RECEIVED FROM THAT
                                                                                                                                    BUSINESS AS INVESTORS
                                                                                                                                    NOT AS HIS PARENTS.

       JENNIFER GOMEZTREJO                                      4/25/18                         $2,910.71                 $0.00     DEBTOR DISPUTES THAT
       1075 E. RIDGEWOOD ST.                                                                                                        THIS IS AN INSIDER
       LONG BEACH, CA 90807                                                                                                         PAYMENT BUT IS LISTING
                                                                                                                                    OUT OF ABUNDANCE OF
                                                                                                                                    CAUTION: HIS SISTER
                                                                                                                                    WAS AN INVESTOR IN A
                                                                                                                                    BUSINESS VENTURE AND
                                                                                                                                    HE PAID HER THIS
                                                                                                                                    AMOUNT FROM THE FINAL
                                                                                                                                    INSTALLMENT OF A
                                                                                                                                    DEVELOPER FEE HE
                                                                                                                                    RECEIVED FROM THAT
                                                                                                                                    BUSINESS AS INVESTORS
                                                                                                                                    NOT AS HIS SISTER.

       JEFF DEAN                                                4/25/2018                     $17,464.26                  $0.00     DEBTOR DISPUTES THAT
                                                                                                                                    THIS IS AN INSIDER
                                                                                                                                    PAYMENT BUT LISTING
                                                                                                                                    OUT OF ABUNDANCE OF
                                                                                                                                    CAUTION: THIS AMOUNT
                                                                                                                                    WAS PAID TO AN
                                                                                                                                    EMPLOYEE WHO WORKED
                                                                                                                                    ON A PROJECT FROM A
                                                                                                                                    PRIOR COMPANY. THIS IS
                                                                                                                                    AN EMPLOYEE PAYMENT.


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                               Desc Main
                                                                  Document     Page 41 of 64
 Debtor 1      David Garcia                                                                                Case number (if known)



       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       MICHELLE GARCIA                                          4/25/18                       $20,564.29                  $0.00     THE DEBTOR DISPUTES
       788 S. WILLIAMS STREET                                                                                                       THIS IS AN INSIDER
       DENVER, CO 80209                                                                                                             PAYMENT SINCE IT WAS
                                                                                                                                    COURT ORDER PURSUANT
                                                                                                                                    TO A TEMPORARY ORDER
                                                                                                                                    IN A DOMESTIC CASE BUT
                                                                                                                                    HE IS LISTING OUT OF
                                                                                                                                    ABUNDANCE OF CAUTION.
                                                                                                                                    THE DEBTOR WAS TO PAY
                                                                                                                                    SUPPORT PAYMENTS TO
                                                                                                                                    EX-WIFE BASED UPON
                                                                                                                                    TERMPORARY ORDERS
                                                                                                                                    AND THIS WAS PAYMENT
                                                                                                                                    FROM THE DISTRIBUTION
                                                                                                                                    HE RECEIVED TO BRING
                                                                                                                                    THAT AMOUNT CURRENT.
                                                                                                                                    THE DEBTOR IS
                                                                                                                                    CURRENTLY BEHIND ON
                                                                                                                                    HIS DOMESTIC SUPPORT
                                                                                                                                    OBLIGATIONS.


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       DAVID GARCIA VS.                                         DISTRICT COURT,                                                        Pending
       MICHELLE GARCIA                                          CITY AND                                                               On appeal
       2017DR30461                                              COUNTY OF
                                                                                                                                       Concluded
                                                                DENVER,
                                                                COLORADO

       DAVID GARCIA VS.                                         CIVIL LAWSUIT               DISTRICT COURT OF                          Pending
       TIMOTHY A. & MARIA ROBINSON                              FOR LEASE                   MONTGOMERY                                 On appeal
       DV-2018-900990                                           DEFICIENCY                  P.O. BOX 1667
                                                                                                                                       Concluded
                                                                                            MONTGOMERY, AL
                                                                                            36102-1667

       WYNLAKES RESIDENTIAL                                     COLLECTION OF               CIRCUIT COURT OF                           Pending
       HOMEOWNERS, INC. VS.                                     HOMEOWNER                   MONTGOMERY COUNTY                          On appeal
       JANICE D. RAY ET AL                                      DUES                        251 S. LAWRENCE STREET
                                                                                                                                       Concluded
       03-CV-2018-901931                                                                    MONTGOMERY, AL 36104




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                               Desc Main
                                                                  Document     Page 42 of 64
 Debtor 1      David Garcia                                                                                Case number (if known)



       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       STATE OF ALABAMA EX REL.                                 CHILD SUPPORT               LEE COUNTY CHILD                            Pending
       MICHELLE L. GARCIA VS.                                                               SUPPORT                                     On appeal
       DAVID P. GARCIA                                                                      LEE COUNTY JUSTICE
                                                                                                                                        Concluded
       CS-2019-900076                                                                       CENTER
                                                                                            2311 GATEWAY DRIVE
                                                                                            OPELIKA, AL 36801


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                          Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                                                                                  loss                               lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                   Desc Main
                                                                  Document     Page 43 of 64
 Debtor 1      David Garcia                                                                                Case number (if known)



 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       BOND, BOTES, SHINN & DONALDSON,                               CASH                                                     1/7/2019                    $1,335.00
       P.C.                                                          (INCLUDES $335 FILING FEE)
       P.O. BOX 4479
       MONTGOMERY, AL 36103


       ALLEN CREDIT & DEBT COUNSELING                                CASH                                                     10/                           $25.00
       AGENCY
       20003 387TH STREET
       WOLSEY, SD 57384


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       MICHELLE GARCIA                                               2012 CHEVROLET                             $0 - TRANSFERRED                10/1/18
       788 S. WILLIAMS STREET                                        SUBURBAN, $13,300 PER                      PURSUANT TO A
       DENVER, CO 80209                                              KBB                                        COURT ORDER

       EX-WIFE

       AUBURN PAWN                                                   ROLEX WATCH                                $2,500                          3/5/2018
       920 OPELIKA ROAD                                              SUBMARINER
       AUBURN, AL 36830



       OPELIKA FORD                                                  2011 JEEP GRAND                            $14,800 ($7,000 WENT            9/14/2018
       801 COLUMBUS PARKWAY                                          CHEROKEE                                   TO EX-WIFE AND
       OPELIKA, AL 36801                                                                                        BALANCE WENT TO
                                                                                                                HELP PAY LIVING
                                                                                                                EXPENSES TO NOW)


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                Desc Main
                                                                  Document     Page 44 of 64
 Debtor 1      David Garcia                                                                                Case number (if known)



      beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                     Date Transfer was
                                                                                                                                           made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was        Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred
       WELLS FARGO                                              XXXX-0398                     Checking                  JANUARY 2018               Unknown
       PO BOX 660455                                                                          Savings
       DALLAS, TX 75266-0455
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       XCEL ENERGY & XFINITY                                    XXXX-8618                     Checking                  JANUARY 2018               Unknown
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       VERIZON WIRELESS                                         XXXX-0001                     Checking                  JANUARY 2018                     $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       SUN SELF STORAGE                                              SELF                                  FURNITURE                            No
       601 OPELIKA ROAD                                                                                                                         Yes
       AUBURN, AL 36830




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                             Desc Main
                                                                  Document     Page 45 of 64
 Debtor 1      David Garcia                                                                                     Case number (if known)



 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       PEDRO & LINDA GARCIA                                          743 OAKDALE DRIVE                          2008 VOLKSWAGON PASSAT                $3,644.00
       6375 N. FELAND AVENUE                                         AUBURN, AL 36830
       FRESNO, CA 93711


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case              Status of the
       Case Number                                                   Name                                                                       case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                 Desc Main
                                                                  Document     Page 46 of 64
 Debtor 1      David Garcia                                                                                Case number (if known)



             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        NATIONAL HOUSING                                        REAL ESTATE DEVELOPMENT                          EIN:         XX-XXXXXXX
        PRESERVATION ADVISORS,
        743 OAKDALE DRIVE                                       ACCOUNTANT: MICHAEL SOUSA                        From-To      JULY 2017-PRESENT
        AUBURN, AL 36830                                        PLANTE MORAN
                                                                8181 EAST TUFTS
                                                                DENVER, CO 80237
                                                                BOOKKEEPER: HOLLY
                                                                KRUMHOLZ
                                                                KRUMHOLZ ACCOUNTING
                                                                SERVICES
                                                                4860 FLORA STREET
                                                                GOLDEN, CO 80403

        NHPA DEVELOPMENT, LLC                                   REAL ESTATE DEVELOPMENT                          EIN:         XX-XXXXXXX
        2415 MOORES MILL ROAD, STE
        265-218                                                                                                  From-To      JUNE 2018 - PRESENT
        AUBURN, AL 36830

        CAMBRIDGE HOUSING                                       REAL ESTATE DEVELOPMENT                          EIN:         XX-XXXXXXX
        PARTNERS, LLC
        606 POPLAR AVENUE, STE 425                              ACCOUNTANT: DEVESH KAMAL                         From-To      APRIL/MAY 2013-PRESENT
        MEMPHIS, TN 38119                                       CLARK SCHAEFER HACKETT
                                                                14 E. MAIN STREET, STE 500
                                                                SPRINGFIELD, OH 45502
                                                                BOOKKEEPER: STEVE CURVINO
                                                                6060 POPLAR AVENUE, STE 425
                                                                MEMPHIS, TN 38119


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ David Garcia
 David Garcia                                                            Signature of Debtor 2
 Signature of Debtor 1

 Date      April 4, 2019                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

                 Case 19-80539                       Doc 1       Filed 04/04/19 Entered 04/04/19 15:51:18                              Desc Main
                                                                  Document     Page 47 of 64
 Debtor 1      David Garcia                                                                                Case number (if known)



   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 10
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                           Desc Main
                                                                  Document     Page 48 of 64
 Fill in this information to identify your case:

 Debtor 1                  David Garcia
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF ALABAMA

 Case number
 (if known)                                                                                                               Check if this is an
                                                                                                                          amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's          BANK OF AMERICA HOME LOANS                          Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of        7844 LAKERIDGE DRIVE                              Reaffirmation Agreement.
    property              MONTGOMERY, AL 36117                              Retain the property and [explain]:
    securing debt:        MONTGOMERY County
                          (RENTAL HOME)
                          (DEED JOINT WITH
                          EX-SPOUSE; DEBTOR
                          AWARDED IN DIVORCE)
                          (TAX ASSESSED VALUE
                          LISTED)
                          (100% BUSINESS)


    Creditor's          EQUITY FUNDING VENTURES                             Surrender the property.                      No
    name:               (EFV) LLC                                           Retain the property and redeem it.
                                                                                                                         Yes
                                                                            Retain the property and enter into a
    Description of        NATIONAL HOUSING                                  Reaffirmation Agreement.
    property              PRESERVATION ADVISORS,                            Retain the property and [explain]:
    securing debt:        LLC OWNERSHIP
                          (100% BUSINESS)

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy




                       Case 19-80539              Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18               Desc Main
                                                                  Document     Page 49 of 64
 Debtor 1      David Garcia                                                                           Case number (if known)




     Creditor's    MR. COOPER                                               Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     7844 LAKERIDGE DRIVE                                Reaffirmation Agreement.
     property           MONTGOMERY, AL 36117                                Retain the property and [explain]:
     securing debt:     MONTGOMERY County
                        (RENTAL HOME)
                        (DEED JOINT WITH
                        EX-SPOUSE; DEBTOR
                        AWARDED IN DIVORCE)
                        (TAX ASSESSED VALUE
                        LISTED)
                        (100% BUSINESS)

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               ALM PROPERTIES LLC                                                                                  No

                                                                                                                                  Yes

 Description of leased        REJECT LEASE AGENT CONTRACT
 Property:

 Lessor's name:               EQUITY FUNDING VENTURES (EFV) LLC                                                                   No

                                                                                                                                  Yes

 Description of leased        REJECT GUARANTY
 Property:

 Lessor's name:               GRALAND COUNTRY DAY SCHOOL                                                                          No

                                                                                                                                  Yes

 Description of leased        REJECT SCHOOL CONTRACT
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ David Garcia                                                             X
       David Garcia                                                                     Signature of Debtor 2
       Signature of Debtor 1

       Date        April 4, 2019                                                    Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy




                  Case 19-80539                   Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                           Desc Main
                                                                  Document     Page 50 of 64
 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1               David Garcia
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Middle District of Alabama                             2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                          $
        Ordinary and necessary operating expenses                       -$
        Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                          $
        Ordinary and necessary operating expenses                       -$
        Net monthly income from rental or other real property           $             Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

                       Case 19-80539              Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                                 Desc Main
                                                                  Document     Page 51 of 64
 Debtor 1     David Garcia                                                                            Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                      $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                    $                            $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =   $

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ David Garcia
                David Garcia
                Signature of Debtor 1
        Date April 4, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                            Desc Main
                                                                  Document     Page 52 of 64
 Fill in this information to identify your case:

 Debtor 1            David Garcia

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Middle District of Alabama

 Case number                                                                                      Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                         ending on                  , which is fewer than 540 days before I    If your exclusion period ends before your case is closed,
                                                                                               you may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy

                  Case 19-80539                   Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                    Desc Main
                                                                  Document     Page 53 of 64
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                  Desc Main
                                                                  Document     Page 54 of 64
        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                    Desc Main
                                                                  Document     Page 55 of 64
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                    Desc Main
                                                                  Document     Page 56 of 64
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                 Desc Main
                                                                  Document     Page 57 of 64
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Middle District of Alabama
 In re       David Garcia                                                                                     Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,000.00
             Prior to the filing of this statement I have received                                        $                     1,000.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 4, 2019                                                              /s/ MARY CONNER POOL
     Date                                                                       MARY CONNER POOL
                                                                                Signature of Attorney
                                                                                Bond, Botes, Shinn & Donaldson, P.C.
                                                                                P.O. Box 4479
                                                                                Montgomery, AL 36103
                                                                                334-264-3363 Fax: 334-230-5406
                                                                                gdonaldson@bondnbotes.com;
                                                                                mpool@bondnbotes.com
                                                                                Name of law firm




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18                       Desc Main
                                                                  Document     Page 58 of 64
                                                               United States Bankruptcy Court
                                                                     Middle District of Alabama
 In re      David Garcia                                                                          Case No.
                                                                                  Debtor(s)       Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: April 4, 2019                                                   /s/ David Garcia
                                                                       David Garcia
                                                                       Signature of Debtor




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy

                 Case 19-80539                    Doc 1          Filed 04/04/19 Entered 04/04/19 15:51:18        Desc Main
                                                                  Document     Page 59 of 64
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




    DAVID GARCIA
    743 OAKDALE DRIVE
    AUBURN, AL 36830



    U.S. ATTORNEY
    MIDDLE DISTRICT OF AL
    P.O. BOX 197
    MONTGOMERY, AL 36101-0197



    EXPERIAN
    PO BOX 9701
    ALLEN, TX 75013



    TRANSUNION
    PO BOX 2000
    CRUM LYNNE, PA 19022



    AES/ FED LOAN SERVICING
    P.O. BOX 69184
    HARRISBURG, PA 17106-9184



    ALM PROPERTIES LLC
    8116 OLD FEDERAL ROAD
    MONTGOMERY, AL 36117



    AMERICAN EXPRESS
    ATTN: LAUREEN SEEGER
    200 VESEY STREET
    NEW YORK, NY 10285



    AMERICAN RECOVERY SVCS
    P.O. BOX 1025
    THOUSAND OAKS, CA 91358



    BANK OF AMERICA HOME LOANS
    16001 N. DALLAS PKWY
    ADDISON, TX 75001



     Case 19-80539    Doc 1   Filed 04/04/19 Entered 04/04/19 15:51:18   Desc Main
                               Document     Page 60 of 64
CAPITAL MANAGEMENT SERVICES, LP
698 1/2 SOUTH OGDEN STREET
BUFFALO, NY 14206-2317



CAPITAL ONE
P.O. BOX 60599
CITY OF INDUSTRY, CA 91716-0599



CAPITAL ONE BANK (USA), N.A.
ATTN: COREY LEE, VP CUSTOMER MANAGEMENT
1680 CAPITAL ONE DRIVE
MCLEAN, VA 22102-3491



CHAMBLESS MATH & CARR
P.O. BOX 230759
MONTGOMERY, AL 36123



CHASE BANK
C/O JAMES DIMON- CEO
270 PARK AVE
NEW YORK, NY 10017



CHASE BANK USA N.A.
PO BOX 6184
WESTERVILLE, OH 43086



CREDIT ONE BANK
ROBERT DEJONG, CEO
6801 S. CIMARRON RD
LAS VEGAS, NV 89113-2273



CREDIT ONE BANK
P.O. BOX 60500
CITY OF INDUSTRY, CA 91716-0500



DAVID SARAFI
501 S. CHERRY ST #100
DENVER, CO 80246


 Case 19-80539   Doc 1   Filed 04/04/19 Entered 04/04/19 15:51:18   Desc Main
                          Document     Page 61 of 64
EQUITY FUNDING VENTURES (EFV) LLC
13815 SE MAY VALLEY ROAD
RENTON, WA 98059



GRALAND COUNTRY DAY SCHOOL
55 CLEARMONT STREET
DENVER, CO 80220



GRALAND COUNTRY DAY SCHOOL/SMART TUITION
55 CLEARMONT STREET
DENVER, CO 80220



INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101-7346



JEFF BROWN LAW, LLC
4313 E. LINKS PARKWAY
LITTLETON, CO 80122



LVNV FUNDING LLC
C/O HALSTED FINANCIAL SERVICES, LLC
P.O. BOX 828
SKOKIE, IL 60076



MICHELLE GARCIA
788 S. WILLIAMS STREET
DENVER, CO 80209



MILESTONE
BANKCARD SERVICES
P.O. BOX 4477
BEAVERTON, OR 97076-4477



MR. COOPER
8950 CYPRESS WATERS BLVD
DALLAS, TX 75019



 Case 19-80539   Doc 1   Filed 04/04/19 Entered 04/04/19 15:51:18   Desc Main
                          Document     Page 62 of 64
MRS BPO, L.L.C.
1930 OLNEY AVENUE
CHERRY HILL, NJ 08003



NASH DERMATOLOGY, LLC
1935 E. GLENN AVENUE, STE 101
AUBURN, AL 36830-6480



PARNELL & PARNELL, P.A.
P.O. BOX 2189
MONTGOMERY, AL 36102



SMART TUITION
P.O. BOX 11731
NEWARK, NJ 07101-4731



STATE OF COLORADO
1375 SHERMAN STREET
DENVER, CO 80203



TERMINIX
PO BOX 742592
CINCINNATI, OH 45274



THE BURNHAM LAW FIRM, P.C.
2760 29TH STREET, STE 1E
BOULDER, CO 80301



TRANSWORLD COLLECTIONS
2235 MERCURY WAY #275
SANTA ROSA, CA 95407



TRUGREEN
801 OLIVER COURT
MONTGOMERY, AL 36117




 Case 19-80539   Doc 1   Filed 04/04/19 Entered 04/04/19 15:51:18   Desc Main
                          Document     Page 63 of 64
U.S. ATTORNEY GENERAL
U.S. DEPARTMENT OF JUSTICE
950 PENNSYLVANIA AVE, NW
WASHINGTON, DC 20530-0001



WYNLAKES HOA
7900 WYNLAKES BLVD
MONTGOMERY, AL 36117



WYNLAKES RESIDENCIAL HOMEOWNERS ASSOC.
C/O ARGO HUGHES, LLC
6706 TAYLOR CIRCLE
MONTGOMERY, AL 36117




 Case 19-80539   Doc 1   Filed 04/04/19 Entered 04/04/19 15:51:18   Desc Main
                          Document     Page 64 of 64
